                         Case 3:23-cv-08089-DGC Document 6 Filed 05/19/23 Page 1 of 2
AO 121 (Rev. 06/16)
TO:

                   Register of Copyrights                                                              REPORT ON THE
                    U.S. Copyright Office                                                      FILING OR DETERMINATION OF AN
                 101 Independence Ave. S.E.                                                           ACTION OR APPEAL
                 Washington, D.C. 20559-6000                                                       REGARDING A COPYRIGHT



     In compliance with the provisions of 17 U.S.C. 508, you are hereby advised that a court action or appeal has been filed
on the following copyright(s):
                                                                         COURT NAME AND LOCATION
        G
        ✔ ACTION               G APPEAL                                   United States District Court - District of Arizona
DOCKET NO.                          DATE FILED


PLAINTIFF                                                                             DEFENDANT
New Parent World, LLC, a New Jersey for-profit                                        True To Life Productions, Inc., et al.
corporation (d/b/a My Baby Experts)



       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OR WORK
    REGISTRATION NO.

1                                    See attached Exhibit A for Copyright Registrations

2

3

4

5



      In the above-entitled case, the following copyright(s) have been included:
DATE INCLUDED                       INCLUDED BY
                                             G Amendment                 G Answer               G Cross Bill           G Other Pleading
       COPYRIGHT
                                                                TITLE OF WORK                                              AUTHOR OF WORK
    REGISTRATION NO.

1

2

3                                                                         .


    In the above-entitled case, a final decision was rendered on the date entered below. A copy of the order or judgment
together with the written opinion, if any, of the court is attached.
COPY ATTACHED                                                    WRITTEN OPINION ATTACHED                                     DATE RENDERED

            G Order            G Judgment                                     G Yes        G No

CLERK                                                            (BY) DEPUTY CLERK                                            DATE



                      1) Upon initiation of action,               2) Upon filing of document adding copyright(s),     3) Upon termination of action,
                         mail copy to Register of Copyrights         mail copy to Register of Copyrights                  mail copy to Register of Copyrights
DISTRIBUTION:
                      4) In the event of an appeal, forward copy to Appellate Court               5) Case File Copy



         Print                          Save As...                                                                                             Reset
       Case 3:23-cv-08089-DGC Document 6 Filed 05/19/23 Page 2 of 2




                                 EXHIBIT A
                     COPYRIGHT REGISTRATIONS

Copyright Registration No.          Title of Work               Author of Work
       SR 953-546            Breast Pumps and Briefcases,    New Parent World, LLC,
                             Breastfeeding for the Working    d/b/a My Baby Experts
                                      Mom (2008)
       SR 951-547            Breast pumps and Briefcases,    New Parent World, LLC,
                             Breastfeeding for the Working    d/b/a My Baby Experts
                                      Mom (2009)
      PA 2-396-849           Breast Pumps and Briefcases,    New Parent World, LLC,
                             Breastfeeding for the Working    d/b/a My Baby Experts
                                 Mom (2015 Spanish)
      PA 2-396-184           Breast Pumps and Briefcases,    New Parent World, LLC,
                             Breastfeeding for the Working    d/b/a My Baby Experts
                                      Mom (2015)
      PA 2-396-942            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                        (2008)
      PA 2-396-143            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                        (2009)
      PA 2-396-869            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                    (2012 Spanish)
      PA 2-396-929            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                        (2012)
      PA 2-396-939            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                    (2019 Spanish)
      PA 2-396-147            Simply Breastfeeding: The      New Parent World, LLC,
                              Criso Breastfeeding Method      d/b/a My Baby Experts
                                        (2019)
